                  Case 2:20-cm-00009-MEF Document 1
AO 106 (Rev. 04/10) Application for a Search Warrant
                                                                           Filed 01/29/20 Page 1 of 21 PageID #: 1

                                          UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Western District of Arkansas
                                                             Fort Smith Division


          In the Matter of the Search of                     )
          The Cellular Telephone Assigned                    )
          Call Number (479)214-2684                          )

                                               APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe property to
                           See Attachment A. This Court has authority to issue this Warrant under 18
be searched and give its location):
U.S.C. § 2703(c)(l)(A) and Federal Rule of Criminal Procedure 41.

located in the Western District of Arkansas, there is now concealed (identify the person or describe the property to be seized):
See Attachment B.

          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                       -:J..   evidence of a crime;

                        D       contraband, fruits of crime, or other items illegally possessed;

                       -:J..   property designed for use, intended for use, or used in committing a crime;

                        D       a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
                  Code Section                                                Offense Description
                  18 U.S.C. § 373                                    Solicitation to Commit a Crime of Violence
                  18 U.S.C. § 875(c)                                 Interstate Communication of a Threat
                  18 U.S.C. § 2332a                                  Conspiracy to Use a Weapon of Mass Destruction

          The application is based on these facts:

          -:J..    Continued on the attached sheet.

        ✓ Delayed notice of 30 days (give exact ending date if more than 30 days: - - - - - - ~ is requested
under 18 U.S. C. § 3103 a, the basis of which is set forth on the attached sheet.




Sworn to before me and signed in my presence.

Date:             ,/t1ba                                                                              Judge 's signature

City and state: Fort Smith, Arkansas                                         Mark E. Ford, United States Magistrate Judge
                                                                                                    Printed name and title
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                                        ATTACHMENT A

                                     Property to Be Searched

       1.      The cellular telephone assigned call number (479) 214-2684 (the "Target Cell

Phone"), whose wireless service provider is Tracfone through Verizon Wireless. Tracfone is

company headquartered at 9700 NW 112 Avenue, Miami, Florida 33178. Verizon Wireless is a

company headquartered at 180 Washington Valley Road, Bedminster, New Jersey 07921.

       2.      Records and information associated with the Target Cell Phone that is within the

possession, custody, or control of Verizon Wireless including information about the location of

the cellular telephone if it is subsequently assigned a different call number.




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                                       ATTACHMENT B

                                 Particular Things to be Seized

    I.      Information to be Disclosed by the Provider

         All information about the location of the Target Cell Phone described in Attachment A for

a period of 45 days, during all times of day and night. "Information about the location of the

Target Cell Phone" includes all available E-911 Phase II data, GPS data, latitude-longitude data,

and other precise location information, as well as all data about which "cell towers" (i.e., antenna

towers covering specific geographic areas) and "sectors" (i.e., faces of the towers) received a radio

signal from the cellular telephone described in Attachment A.

         To the extent that the information described in the previous paragraph (hereinafter,

"Location Information") is within the possession, custody, or control of Verizon Wireless, Verizon

Wireless is required to disclose the Location Information to the government. In addition, Verizon

Wireless must furnish the government all information, facilities, and technical assistance necessary

to accomplish the collection of the Location Information unobtrusively and with a minimum of

interference with Verizon Wireless's services, including by initiating a signal to determine the

location of the Target Cell Phone on Verizon Wireless ' s network or with such other reference

points as may be reasonably available, and at such intervals and times directed by the government.

The government shall compensate Verizon Wireless for reasonable expenses incurred in furnishing

such facilities or assistance.

         This Search Warrant does not authorize the seizure of any tangible property. In approving

this Search Warrant, the Court finds reasonable necessity for the seizure of the Location

Information. See 18 U.S.C. § 3103a(b)(2).




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   II.      Information to Be Seized by the Government

         All information described above in Section I that constitutes evidence of violations of 18

U.S.C. § 373 , 18 U.S.C. § 875(c) and 18 U.S.C. § 2332a involving Jason D'Juan GARFIELD and

others yet unknown.

         Law enforcement personnel (who may include, in addition to law enforcement officers and

agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Provider in order to locate the things particularly

described in this Search Warrant.




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        AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT

        I, Ryan Crump, a Special Agent of the Federal Bureau oflnvestigation ("FBI") being duly

sworn, depose and state:

                      INTRODUCTION AND AGENT BACKGROUND

        1)     I am a "federal law enforcement officer" within the meaning of Federal Rule of

Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing the criminal

laws and duly authorized by the Attorney General to request a search warrant. I have been

employed with the FBI since 2016. I am currently assigned to the FBI Little Rock Field Office,

Fort Smith Resident Agency where I am tasked with conducting national security investigations.

During my career as a Special Agent, I have been involved in a variety of investigative matters,

including international and domestic terrorism matters. During the course of these investigations,

I have assisted with Title III wire intercept affidavits, participated in the execution of search and

arrest warrants, conducted physical surveillance, participated in controlled meetings with

confidential sources, and communicated with other local and federal law enforcement officers

regarding the manner in which those engaged in domestic terror activities conduct their business.

        2)     I submit this Affidavit in support of an Application for a warrant pursuant to Federal

Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c)(l)(A), authorizing agents of the FBI to

ascertain the physical location of a cellular telephone, including but not limited to data indicating

the specific latitude and longitude of (or other precise location concerning) the cellular telephone

(the "REQUESTED INFORMATION") 1, as described in Attachment B, for a period of 45 days.

The assigned call number for the cellular telephone, as described in Attachment A, is (479) 214-



1
  Such information shall, where other information is unavailable, include records reflecting the
tower and antenna face ("cell site") used by the TARGET DEVICE at the start and end of any
call.

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2684 (the "TARGET DEVICE"), a mobile cellular telephone whose service provider is Verizon

Wireless. I believe the current user of this device to be Jason D'Juan Garfield ("GARFIELD").

Based on the investigation to date, GARFIELD is known to Affiant as a racially motivated

extremist engaged in violent rhetoric. As further described below, I believe GARFIELD is

actively using the TARGET DEVICE in furtherance of violations of 18 U.S.C. § 373, 18 U.S.C.

§ 875(c) and 18 U.S.C. § 2332a.

       3)      I am familiar with the facts and circumstances of the investigation through my

personal participation, from review of information received from a cooperating witnesses,

discussions with other law enforcement officers, and from my review of records and reports

relating to the investigation. Since I am submitting this Affidavit for the limited purpose of

securing a warrant authorizing the acquisition of the REQUESTED INFORMATION, I have not

included details of every aspect of the investigation.

       4)      Based on the information contained below, I submit that probable cause exists to

believe GARFIELD and other individuals, known and unknown, have committed, and continue

to commit, violations of 18 U.S.C. § 373 , 18 U.S.C. § 875(c) and 18 U.S.C. § 2332a. Further,

probable cause exists to believe the TARGET DEVICE is being used by GARFIELD to commit

these violations, and that the REQUESTED INFORMATION will provide the location of

GARFIELD, that the location information described in Attachment B will constitute evidence of

these criminal violations, and will lead to the identification of other individuals who are engaged

in the commission of the offenses, as well as other relevant evidence.

  USE OF CELLULAR TELEPHONES BY RACIALLY MOTIVATED EXTREMISTS

       5)      Based on my training, experience, and participation in other domestic terrorism

investigations, I know racially motivated extremists:



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               a)      Use cellular telephones to facilitate their criminal activities. Such

telephones contain, among other things, the names and telephone numbers of criminal associates,

text messages about criminal activity, and call details about telephone numbers that were called or

received by the telephone;

               b)      Use cellular telephones to take photographs and videos which depict,

among other things, their criminal activity, the accomplices involved in their criminal activity,

and/or the possession of the fruits or instrumentalities of their criminal activity;

               c)      Use cellular telephones to conduct their illegal activity by contacting co-

conspirators and other likeminded individuals. Cellular telephones are often used to schedule

meetings to discuss potential or future activities;

               d)      Carry and maintain control of their cellular telephones at all times;

               e)      Often register their telephone numbers and communications accounts in

fake or alias names in order to evade law enforcement detection; and

               f)      Often change or "drop" telephone numbers in order to insulate themselves

from their criminal activities and to confuse investigators and evade law enforcement detection.

                             STATEMENT OF PROBABLE CAUSE

         6)    On August 31 , 2019, the FBI received information regarding private chat messages

of five Facebook User IDs engaged in violent rhetoric. As part of this investigation, it is believed

that the five Facebook accounts were used by three individuals, Jason D' Juan GARFIELD a/k/a

"Moon Man" a/k/a "Jugger Bugger" (User IDs: 100039745848858, 100040632669718, and

100037513098779), Travis OWENS (User ID : 100009372128338), and J.W. (User ID:

100031411818671 ). Rhetoric in the private chat messages was consistent with racially motivated

extremism ideology, to include aspirational violence against religious and racial minorities.



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         7)    Your Affiant had previously believed and had previously advised this Court that

the Facebook accounts I now know were used by GARFIELD were used by an individual by the

name of Dalton Scott.

         8)    Your Affiant received information regarding three alias Facebook profiles, "Moon

Man," "Jugger Bugger," and "Jugger Bugger." Telephone number 479-847-4569 was associated

with "Moon Man." Telephone number 479-214-2684, the TARGET DEVICE, was associated

with one of the "Jugger Bugger" Facebook accounts. No telephone number was associated with

the other "Jugger Bugger" Facebook accounts.

         9)    During the course of this investigation, the FBI had four sources of information to

suggest 479-847-4569, the number associated with the "Moon Man" Facebook account, belonged

to Dalton Scott.

               a)       "Moon Man" was identified as Dalton Scott by the complainant.

               b)       Telephone number 479-847-4569 was historically attributed to Dalton C.

         Scott by open sources searches.

               c)       A search for 479-847-4569 in open source indicated it was associated with

         a Skype account for Dalton Scott.

               d)       A grand jury subpoena return for one of Dalton Scott's Facebook accounts

         (in true name) indicated 479-847-4569 was paired with the account in 2015.

         10) The number 479-847-4569 was previously identified as a Verizon Wireless

(Verizon) phone number. After discussion with Verizon, the FBI was informed that 4 79-84 7-4569

was actually serviced by Tracfone, and that the FBI would need to consult Tracfone for subscriber

information. Tracfone subsequently advised there was no subscriber information for the number




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to report. As a result, attempts to verify the subscriber of the phone through the service provider

yielded no further information.

         11) Verizon and Tracfone were unable to provide subscriber information for 479-214-

2684, the TARGET DEVICE. However, Verizon was able to provide GPS pings for this number,

which were requested and obtained pursuant to emergency disclosure.

         12) In addition, the FBI served a subpoena to Tracfone for telephone number 479-214-

2684, the TARGET DEVICE, the results of which revealed the following information:

               a)     Name: NIA;

              b)      DOB : 09/11 /97;

               c)     Security Pin: 1488;

               d)     Email: decanusbjom@straighttalk.com;

               e)     Phone: 1351681175;

               f)     Address: 1351681175, Clarksville, AR 72830; and

               g)     Purchase Information: Phone was purchased at Walmart store 5360.

         13) The FBI has utilized a confidential source in this investigation who will be referred

throughout this Affidavit as "CSl." CSl did not recognize Dalton Scott as "lugger Bugger." CSl

was shown a photo of GARFIELD and recognized GARFIELD as "lugger Bugger." Affiant

deems CS 1 to be a reliable informant whose information can be trusted.

         14) GARFIELD was further identified following searches m open source law

enforcement databases. GARFIELD was found to have a date of birth of September 11 , 1997,

which matched the date of birth provided in the Tracfone subpoena return for the TARGET




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DEVICE. Furthermore, " 1488" is a commonly used racist slogan. 2 The use of these four digits for

a pin would be consistent with the rhetoric observed via the "Jugger Bugger" Facebook account.

         15) Through the course of this investigation, it was determined that GARFIELD, J.W. ,

OWENS, and Colton Andrew PELTS (User ID: 100009106173104), were participants in a

Facebook Messenger chat group named "Right Wing Death Squad." The following conversations

between GARFIELD, J.W. , OWENS, and PELTS took place over Facebook Messenger between

August 2, 2019 and August 26, 2019:

               a)     On August 2, 2019, J.W. messaged GARFIELD: "[W]e can take care of

       druggies any time. We need to get rid of Jews ASAP though." GARFIELD responded,

       "[d]o both at the same time. Clean up the white community and show them who's

       controlling and manipulating and our numbers go up ... We don't have the time to do one

       goal at a time." J.W. stated, "I'm aware. Doesn't mean we need to be too hasty though. We

       need at least a rudimentary plan and proper resources before we try anything big."

               b)     On August 4, 2019,          GARFIELD       messaged J.W.:      "WE     CAN

       ACCELERATE TODAY FOR A NEW WORLD TOMORROW." J.W. responded, "Give

       me some ammo and a couple extra mags. I've already got a couple of guns that'll be

       sufficient at the very least." GARFIELD messaged, "I'm really tempted to act soon. I can't

       stand by and do nothing." J.W. asked, "How many others do we have on our side that we

       immediately know of?" GARFIELD responded, "I don't know of anyone outside of




2
  " 1488" is a popular white supremacist numeric symbol. " 14" is shorthand for the " 14 Words"
slogan, "We must secure the existence of our people and a future for white children." "88" is
numeric shorthand for "HH," which is shorthand for "Heil Hitler," as "H" is the eighth letter in
the alphabet.

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       Atomwaffen3 but they're all out of state and I don't know if I trust them .. .Let's just pull a

       McVeigh4 in little rock." J.W. replied, "Possibly."

                 c)    On August 5, 2019, J.W. stated, " [a] few thousand rounds of ammo, 20

       mags, and a couple of automatic rifles ... Throw in an armored vehicle and a small crew

       could do some serious damage. Some explosives could further the destruction."

       GARFIELD responded, "I need a more permanent solution." J.W. messaged, "you'll have

       to find more patience and save funds to afford better gear, and spend time gathering a larger

       group to carry out your plan." GARFIELD stated, "Just fucking McVeigh the DNC", and

       J.W. replied, " [t]hen you know what to buy. Call me up when you've got it and I'll be more

       than happy to help."

                 d)    On August 7, 2019, GARFIELD messaged another user, "SPICS AND

       NIGGERS NEED TO HANG FROM TREES."

                 e)    On August 8, 2019, J.W.          messaged GARFIELD: " [l]0rnrn is best

       millimeter though." GARFIELD replied, "Yes it is. I only own one unfortunately. I need

       another...I've hit steel at 120 yards with it shooting Sig FMJs and it hit pretty hard .. .I just

       need to use it on some niggers now."

                 f)    On August 8, 2019, GARFIELD messaged a group chat and stated to

       OWENS, "I want a full auto Scar H. Travis, hook me up with some goodies from the

       armory. I'll pay you $100 worth ofMcChickens." OWENS responded, "Lol I can't do that

       with how the security is now in the military it's ridiculous to get your issued Ml 6A4 service

       rifle."


3
  I believe this to be a reference to Atomwaffen Division, a Neo-Nazi, and terroristic national
socialist organization.
4
  I believe this to be a reference to Timothy Mc V eigh, an American domestic terrorist who
perpetrated the 1995 Oklahoma City bombing that killed 168 people and injured over 680 others.

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             g)      On August 16, 2019, GARFIELD messaged the group chat and stated "I

     have access to 300k lbs of anhydrous ammonia. Just need a container to store it." OWENS

     responded, "Nice I have combat engineers as friends with access to c4." GARFIELD

     replied, "What kind of container does that shit need again? ... Something that can handle

     high pressure with a release valve to bleed off excess pressure. I could probably make one

     with spare parts from the refrigeration guys at work. BOMBS A WAY MR. MCVEIGH. "

     OWENS messaged, "[y]es kill them all...I have access to so much hahaha we can make it

     rain bullets for days."

             h)      On August 20, 2019, GARFIELD messaged PELTS stating that he wanted

     to kill Black people, to which PELTS responded "Let's do it."

             i)      On August 22, 2019, J.W. messaged GARFIELD: " [w]hites have true

     diversity. We are not all the same. Our differences are what make us unique and human.

     Niggers have no such luxury, nor do they truly understand that concept. They ask think in

     the same selfish animal way. And that's all they are- animals. And with the current state of

     the world, they have become severe pests. They must be eradicated. Completely and

     utterly." GARFIELD replied, "Racism isn't real, whites are the only humans."

            j)       On August 26, 2019, J.W. messaged the group chat, "Anyone want to try

     produce a B-50 BRB with me then?" "Killing niggers is a greater source of dopamine.

     KKK tested, *unofficially* Crusade approved." On August 26, 2019, PELTS responded

     "I'll do it James," to which J.W . wrote "We need a 50 gallon barrel, a shit load of duct

     tape, an ass ton of potassium nitrate (go to the co-op and claim it's for stump removal or

     hobby rocket building if asked, hope not to get arrested since both can technically be seen

     as true), lots of sugar, and some cardboard. I've got $40 to give to the cause, which can get



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       3 things on our list." PELTS responded "Idk where to get a 50 gallon barrel" and J.W.

       responded "Online. Seriously, you can get 50 gallon drums/barrels all over the internet if

       you look." PELTS responded "Ok." J. W. continued, "Now we just need that sweet, sweet,

       potassium nitrate ... But honestly, if we're doing something like this, forget the barrel. Just

       get a shit load of PVC pipe. Preferably two sizes, of which one should fit somewhat loosely

       inside of the other. Because then we can make knockoff Panzerschreck launchers .. .Might

       as well have a couple hours of fun instead of a few seconds."

         16) On October 18, 2019, the FBI received information concerning private chat

messages between an account created on October 9, 2019, with the User ID: 100042287731351 ,

using the name "Jason Vulgamore," and another unidentified Facebook user. Based upon the

information associated with the User ID: 100042287731351 , it is believed that GARFIELD is the

user of the account. The TARGET DEVICE is associated with User ID: 100042287731351.

         17) The following conversation between GARFIELD and the unidentified Facebook

user took place over Facebook Messenger between October 14, 2019 and October 15, 2019:

              a)      On October 14, 2019, GARFIELD messaged the Facebook user: "Soon

       brother...white marker...Saint Tarrant. 5" The Facebook user responded, "I don't get it."

       GARFIELD then sent the following images:




5
 I believe the images on GARFIELD ' s handgun are decorated similarly to the rifle used by the
Christ Church, New Zealand mosque shooter, Brenton Tarrant.

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                                                                              5, 6




                                                                             7, 8, 9




6 I believe the symbol bearing resemblance to a hashtag or pound sign is likely a reference to the
Iron Guard, a Romanian fascist group.
7
  I believe the slogan " 13=50" may be a reference to the perceived belief that despite only making
up 13% of the population, African Americans commit 50% of crime.
8
  I believe the acronym "A30B" is likely a reference to the Azov Battalion, which is a Ukrainian
National Guard Unit with Neo-Nazi ties.
9
  I believe the numbers "42089" are likely a reference to Adolf Hitler's birthday, April 20, 1889.

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                                                                              10, 11



               b)       On October 15, 2019, GARFIELD reached out to the same unidentified

       Facebook user and messaged, "The AR is next. And to explain some of them, 4/20/1889 is

       Hitler's birthday, Azov battalion is a Ukrainian Right Wing Death Squad, Kali Yuga is a

       stage of enlightenment, where the world is right now, the Iron Guard was a Romanian

       Orthodox Fascist political party, Prinz Eugen was the SS division my great grandfather

       started in, and I chose the 2nd Latvian insignia because Saint Tarrant 12 had the 1st Latvian

       on his rifle."

     18)        GARFIELD has communicated on Facebook with other persons engaged in

racially motivated, extremist rhetoric. Additionally, Your Affiant has reviewed the messages

exchanged between GARFIELD, PELTS, OWENS and J.W. between on or about June 11 , 2019


10
   I believe the number "14" was painted next to the word "Dirlewanger" and may be a reference
to the "14 words" slogan initially coined by David Lane, a member of the white supremacist group
known as "The Order." The " 14 words" state, "We must secure the existence of our people and a
future for white children."
11
   I believe the 2nd Latvian insignia is displayed on the slide of GARFIELD's handgun following
the word, "Dirlewanger." "Dirlewanger" may be a reference to former Nazi SS Officer Oskar
Dirlewanger, or the penal unit he created within SS called the Dirlewanger Brigade.
12
   I believe Saint Tarrant is in reference to Brenton Tarrant who has been hailed as a saint by many
within white supremacist groups.

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and on or about September 1, 2019, obtained from a previously-issued search warrant 13 . Those

messages contained discussions about the research, procurement, and development of improvised

explosive devices (IEDs), illegally manufactured firearms, ammunition, and ballistic body armor

to be used in attacks against racial and religious minorities.

         19)   On October 29, 2019, GARFIELD and PELTS were observed by the FBI

surveillance team traveling to Wilkerson Auto Sales, 1005 North 18 th Street, Ozark, Arkansas, in

a vehicle believed to be operated by PEL TS.

         20)   On November 13, 2019, FBI surveillance observed GARFIELD meeting with

PELTS at 200 North 2nd Street, Coal Hill, Arkansas, which is in the Western District of Arkansas.

Based on my investigation, it is believed that this address belongs to Johnathon Pelts, likely, the

father of PELTS. Later the same day, GARFIELD was observed at PELTS ' s previously identified

residence of 404 Highway 64 Altus, Arkansas, which is in the Western District of Arkansas.

         21)   On November 4, 2019, the Honorable Magistrate Judge Mark E. Ford, seated in the

Western District of Arkansas, issued a court order authorizing the installation and use of Pen

Registers and Trap and Trace for TARGET DEVICE (Case Number: 2:19CM55).

         22)   Telephone number, 501-683-9887, believed to be associated with PELTS, had

approximately 74 communications with TARGET DEVICE from December 10, 2019 through

January 24, 2020.

         23)   The FBI has utilized a confidential source in this investigation who will be referred

throughout this Affidavit as "CS2."




13
     Case Number: 2:19CM40.

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       24)    The investigation to date has determined that GARFIELD resides with his

girlfriend and her family at a residence in Ozone, Arkansas, which is in the Western District of

Arkansas.

       25)    On or around December 6, 2019, CS2 observed PELTS and GARFIELD at

GARFIELD's place of residence, 2310 County Road 4490, Ozone, Arkansas, which is in the

Western District of Arkansas.

       26)    On October 26, 2019, the Honorable Magistrate Judge Mark E. Ford, seated in the

Western District of Arkansas, issued a Search and Seizure Warrant for the real-time geolocation

data for TARGET DEVICE for a period of 45 days, which expired on December 13, 2019 (Case

Number: 2:19CM53).

       27)    On December 13, 2019, the Honorable Magistrate Judge Mark E. Ford, seated in

the Western District of Arkansas, issued a Search and Seizure Warrant for the real-time

geolocation data for TARGET DEVICE for a period of 45 days, which expired on January 27,

2020 (Case Number: 2:19CM63).

       28)    In addition to the search warrants for TARGET DEVICE referenced above, the

investigation also obtained a tracker warrants for GARFIELD's vehicle (Case Numbers

2:19CM62 and 2:20CM6)

       29)    On January 7, 2020, the Honorable Magistrate Judge Mark E. Ford, seated in the

Western District of Arkansas, issued a court order authorizing the installation and use of Pen

Registers and Trap and Trace for TARGET DEVICE (Case Number: 2:20CM1).

       30)    On or around January 21 , 2020, FBI surveillance observed GARFIELD meeting

with CS2 at a location in Fort Smith, Arkansas, which is in the Western District of Arkansas.




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     31)       Pen Register and Trap and Trace analysis for TARGET DEVICE revealed that on

January 21 , 2020, TARGET DEVICE had approximately 29 contacts with a telephone number

operated by CS2.     Your Affiant believes that GARFIELD continues to utilize TARGET

DEVICE to communicate with associates previously identified in this investigation.

       32)     I know, based on my experience as a law enforcement officer as well as my own

personal experience, that while people may not always be in or with their personal vehicles, they

almost always have their cellular phones with them with very few exceptions. Vehicles sometimes

have to go in for both routine and extensive repairs and maintenance, during which the vehicle ' s

owner relies upon other means of travel. Thus, having the real-time geolocation data for TARGET

DEVICE in addition to a GPS tracking device on GARFIELD's vehicle prevents informational

holes in its digital surveillance of GARFIELD.

       33)    The preceding paragraphs demonstrate that the location of the TARGET DEVICE

is very important to accomplishing the goals of the investigation. As previously stated, your

Affiant is aware and it is common knowledge, that people have their cellular phones with them at

all times. The REQUESTED INFORMATION of the TARGET DEVICE would help law

enforcement determine where GARFIELD is located and would aid in the FBI's ongoing

surveillance operation. The REQUESTED INFORMATION would also alert law enforcement

if GARFIELD visits any locations that sell items that can be used to produce IEDs, illegally

manufactured firearms, ammunition, ballistic body armor, and biological weapons, as well as if

GARFIELD is traveling to any locations mentioned as potential target sites.




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                                AUTHORIZATION REQUEST

       34)     Based on the foregoing, your Affiant requests that the Court issue the proposed

Search Warrant, pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c).

       35)     Your Affiant further requests, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule

of Criminal Procedure 41 (f)(3 ), that the Court authorize the officer executing the warrant to delay

notice until 30 days after the collection authorized by the warrant has been completed. There is

reasonable cause to believe that providing immediate notification of the warrant may have an

adverse result, as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or

user of the TARGET DEVICE would seriously jeopardize the ongoing investigation, as such a

disclosure would give that person an opportunity to destroy evidence, change patterns of behavior,

notify confederates, and flee from prosecution. See 18 U.S.C. § 3103a(b)(1 ). As further specified

in Attachment B, which is incorporated into the warrant, the proposed Search Warrant does not

authorize the seizure of any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the

extent that the warrant authorizes the seizure of any wire or electronic communication (as defined

in 18 U.S.C. § 2510) or any stored wire or electronic information, there is reasonable necessity for

the seizure for the reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

       36)     Your Affiant further requests that the Court direct Verizon to disclose to the

Government any information described in Attachment B that is within the possession, custody, or

control of Verizon Wireless. I also request that the Court direct Verizon Wireless to furnish the

Government all information, facilities, and technical assistance necessary to accomplish the

collection of the information described in Attachment B unobtrusively and with a minimum of

interference with Verizon Wireless services, including by initiating a signal to determine the

location of the TARGET DEVICE on Verizon Wireless network or with such other reference



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points as may be reasonably available, and at such intervals and times directed by the Government.

The Government shall reasonably compensate Verizon Wireless for reasonable expenses incurred

in furnishing such facilities or assistance.

        37)     Your Affiant further requests that the Court authorize execution of the Search

Warrant at any time of day or night, owing to the potential need to locate the TARGET DEVICE

outside of daytime hours.


                                           CONCLUSION

        3 8)   Based on the forgoing, Your Affiant requests that the Court issue the proposed

Search Warrant.

       39)     This Court has jurisdiction to issue the requested warrant because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(l)(A) &

(c)(l)(A). Specifically, the Court is "a district court of the United States ... that - has jurisdiction

over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i).

       40)     Pursuant to 18 U.S .C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this Search Warrant.




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                                  REQUEST FOR SEALING

       41)     Your Affiant further requests that the Court order that all papers in support of this

Application, including the Affidavit and Search Warrant, be sealed until further order of the Court.

These documents discuss an ongoing criminal investigation that is neither public nor known to all

of the targets of the investigation. Accordingly, there is good cause to seal these documents

because their premature disclosure may seriously jeopardize that investigation.




                                                     Ry~%
                                                     Special Agent
                                                     Federal Bureau of Investigation




Sworn to and subscribed before me this ~     day of January, 2020.




                                                     HONORABLE MARKE. FORD
                                                     UNITED STATES MAGISTRATE JUDGE




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